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  EXHIBIT 2
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

Quartz Auto Technologies LLC                         Civil Action No. 6:20-cv-00156

        Plaintiff,                                   The Honorable ________________________

                v.                                   COMPLAINT FOR PATENT
                                                     INFRINGEMENT
Lyft, Inc.
                                                     JURY TRIAL DEMANDED
        Defendant.

   COMPLAINT FOR PATENT INFRINGEMENT AND DEMAND FOR JURY TRIAL

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff Quartz Auto Technologies LLC (“Quartz Auto”), files this Complaint for Patent

Infringement and Damages against Defendant Lyft, Inc. (“Lyft” or “Defendant”), and would

respectfully show the Court as follows:

                                            PARTIES

        1.      Plaintiff Quartz Auto is a Delaware limited liability company with its principal

place of business located at 301 S. Fremont Ave, Baltimore, MD 21230.

        2.      On information and belief, Defendant Lyft is a Delaware corporation with its

principal place of business located at 185 Berry Street, Suite 5000, San Francisco, CA 94107. Lyft

is registered to conduct business in Texas, and may be served through its registered agent, The

Corporation Trust Company, located at 1999 Bryan St., Suite 900, Dallas TX 75201-3136.

                                 JURISDICTION AND VENUE

        3.      This is a civil action for patent infringement arising under the Patent Laws of the

United States as set forth in 35 U.S.C. §§ 271, et seq.




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          4.    This Court has federal subject matter jurisdiction over this action pursuant to 28

U.S.C. §§ 1331 and 1338(a) and pendant jurisdiction over the other claims for relief asserted

herein.

          5.    This Court has personal jurisdiction over Defendant pursuant to TEX. CIV. PRAC. &

REM. CODE § 17.041 et seq. Personal jurisdiction exists over Defendant because Defendant has

minimum contacts with this forum as a result of business regularly conducted within the State of

Texas and within this district, and, on information and belief, specifically as a result of, at least,

committing the tort of patent infringement within Texas and this district. Personal jurisdiction also

exists because, on information and belief, Defendant has: (1) operated the Internet website,

https://www.lyft.com/, and provided a mobile application (the “Lyft app”), which is available to

and accessed by ridesharing users, customers, and potential customers of the Defendant, both

riders and drivers, within this judicial district; (2) operated within the judicial district, with

ridesharing offered to users, customers, and potential customers of Defendant in locations

including Austin, El Paso, San Antonio, and Waco; (3) actively advertised to residents within the

District to hire more drivers; (4) transacted business within the State of Texas; (5) actively

infringed and/or induced infringement of Plaintiff’s patents in Texas; (6) established regular and

systematic business contacts within the State of Texas; and (7) continue to conduct such business

in Texas through the continued operation within the district. Accordingly, this Court’s jurisdiction

over the Defendant comports with the constitutional standards of fair play and substantial justice

and arises directly from the Defendant’s purposeful minimum contacts with the State of Texas.

          6.    This Court also has personal jurisdiction over Defendant, because in addition to

Defendant’s own online website and advertising within this judicial district, Defendant has also




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made its ridesharing services available specifically within this judicial district via the following

means:

                a.       Defendant offers ridesharing within the judicial district, in locations

         including:

                -     Austin (https://www.lyft.com/rider/cities/austin-tx),

                -     El Paso (https://www.lyft.com/rider/cities/el-paso-tx),

                -     San Antonio (https://www.lyft.com/rider/cities/san-antonio-tx), and

                -     Waco (https://www.lyft.com/rider/cities/waco-killeen-tx).

                b.       Defendant actively advertises to district residents to hire more drivers

         within the district. For example:

                -     Austin (https://www.lyft.com/driver/cities/austin-tx), and

                -     Waco (https://www.lyft.com/driver/cities/waco-killeen-tx).

                c.       Defendant actively promotes working for Lyft to all, including district

         residents, who have downloaded the Lyft passenger application, as “Drive with Lyft” is

         listed in the application drop down menu, and incentivizes new drivers with guaranteed

         money dependent on “X” number of drives in first 30 days (guaranteed money amount and

         number of drives depends on location).




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                  Lyft Passenger Application Screenshots February 16, 2020

                  d.     Defendant provides in-person support via “Driver Hubs” within the Western

        District of Texas, including a driver center in Austin (6375 US-290, Austin, TX 78723) and

        both      a    service   desk    and     airport   service    desk     in    San    Antonio

        (https://thehub.lyft.com/hours/texas).

        7.        Defendant is subject to this Court’s specific and general personal jurisdiction

pursuant to due process and/or the Texas Long Arm Statute, due at least to Defendant’s substantial

business in this forum, including: (i) at least a portion of the infringements alleged herein; and/or

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct, and/or

deriving substantial revenue from goods and services provided to individuals in Texas and in this

district.




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        8.      Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C.

§ 1400(b) based on the information and belief that the Defendant has committed or induced acts

of infringement, and/or advertise, market, sell, and/or offer to sell products, including infringing

products, in this judicial district. In addition, Defendant maintains numerous regular and

established places of business in this district by providing its ridesharing service in this district in,

for example, Waco, Texas. In addition, Defendant maintains regular and established places of

business in this district, as discussed in ¶6(d).

                                     THE PATENTS-IN-SUIT

        9.      On September 3, 2002, United States Patent No. 6,446,004 (“the ‘004 patent”),

entitled “System and Method for Implementing Proximity or Location Driven Activities” was duly

and legally issued by the United States Patent and Trademark Office (“USPTO”) to Kevin Tung

Cao, Daniel Alexander Ford, and Reiner Kraft, with the International Business Machines

Corporation (“IBM”) as assignee. A copy of the ‘004 patent is attached hereto as Exhibit A.

        10.     On October 19, 2004, United States Patent No. 6,807,464 (“the ‘464 patent”),

entitled “Systems and Methods for Distributing Information to an Operator of a Vehicle” was duly

and legally issued by the USPTO to Philip Shi-lung Yu, David P. Greene, Edith H. Stern, and Barry

E. Willner, with IBM as assignee. A copy of the ‘464 patent is attached hereto as Exhibit B.

        11.     On May 6, 2008, United States Patent No. 7,370,085 (“the ‘085 patent”), entitled

“Method, System, and Program for Providing User Location Information with a Personal

Information Management Program” was duly and legally issued by the USPTO to Michael Wayne

Brown, Rabindranath Dutta, and Michael A. Paolini, with IBM as assignee. A copy of the ‘085

patent is attached hereto as Exhibit C.




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       12.     On June 7, 2011, United States Patent No. 7,958,215 (“the ‘215 patent”), entitled

“System Management Using Real Time Collaboration” was duly and legally issued by the USPTO

to David Gerard Herbeck and Susette Marie Townsend, with IBM as assignee. A copy of the ‘215

patent is attached hereto as Exhibit D.

       13.     On October 4, 2016, United States Patent No. 9,460,616 (“the ‘616 patent”),

entitled “Management of Mobile Objects and Service Platform for Mobile Objects” was duly and

legally issued by the USPTO to Tomohiro Miyahira and Gaku Yamamoto, with IBM as assignee.

A copy of the ‘616 patent is attached hereto as Exhibit E.

       14.     The ‘004, ‘464, ‘085, ‘215, and ‘616 patents are referred to hereinafter as the

“Quartz Auto Patents.”

       15.     Plaintiff Quartz Auto Technologies LLC is the owner of the entire right, title, and

interest in and to the Quartz Auto Patents. The Quartz Auto Patents were originally owned by and

assigned to IBM, and through predecessors in interest that were duly recorded in the U.S. Patent

Office, were ultimately assigned to Quartz Auto on or about February 13, 2020 and February 14,

2020, and recorded in the Patent Office, with all right, title, and interest in and to the Patents to

Quartz Auto. Each of the Quartz Auto Patents are presumed valid under 35 U.S.C. § 282.

                               United States Patent No. 6,446,004

       16.      The ‘004 patent claims a system and associated method for implementing a

proximity driven activity. In one embodiment, the system and an associated method of the ‘004

patent allow requests to be executed at some point in the future without specifying the exact time

or necessarily a precise location. The execution time of the request is linked to the arrival of a

person at, or near a geographic location or destination. When a person arrives at that location, or

comes within a proximity threshold distance of that location, the request to interact will be



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executed. The proximity threshold “can be adjustable and programmable” (col. 2, lines 6-7). A

“mobile computing device” may be, for example, a personal computer, a personal digital assistant,

and preferably possesses a wireless means of communication. In the present complaint,

Defendant’s ride-hailing system and method infringe on these inventive aspects of the ‘004 patent

by, for example, using both passenger and driver applications that input, collect, and transmit such

proximity driven activity between the passenger and the driver, and vice versa. Here, the Lyft

applications, installed and used on mobile computing devices (most often wireless mobile phones),

collect a passenger’s current location and inputted destination and executes software code to

determine which driver is within the proximity threshold to complete the passenger’s request. The

passenger’s current location and inputted destination is then transmitted through the Lyft

application to the driver’s mobile device.

       17.     The ‘004 patent overcomes shortcomings in the prior art, which were ineffective at

integrating location positioning (col. 1, lines 36-40) into functional applications in the ever-

advancing areas of GPS and mobile computing. Certain of the inventive aspects of the ‘004 patent

addressed the need for improvements in the area of location dependent data processing, by

developing software for use with a mobile computing device combined with a global positioning

system locator (col. 1, lines 16-24). More specifically, the inventive aspects of executing an activity

linked to the arrival of a person at or near a geographic location or destination, which is dependent

on a mobile computing device and the calculated current location and destination of the mobile

device (col. 1, lines 61-67), were not well-understood, routine, or conventional at the time of the

invention.




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                               United States Patent No. 6,807,464

       18.     In one embodiment, the ‘464 patent claims a method and associated system of

distributing vehicle control information by determining, at a controller location, the vehicle control

information associated with the location of the vehicle and vehicle operator, and then arranging

the information to provide an indication to the vehicle operator.             Such “vehicle control

information” may refer to any information that can be used by an operator with respect to a vehicle,

and may be provided to the operator, for example, via text information, image information, audio

information, dashboard information, and/or HUD information. In the present complaint,

Defendant’s ride-hailing system and method infringe on these inventive aspects of the ‘464 patent

by, for example, using both passenger and driver applications that communicate such vehicle

control information between the passenger and the driver, and vice versa. Here, the Lyft passenger

application serves as the controller, while the Lyft driver application serves as the operator, and

the requisite information is provided by text, image, and audio, as needed.

       19.     The ‘464 patent overcomes shortcomings in the prior art, which required

information be presented through traditional signage and traffic signals placed along roads (col. 1,

lines 20-21). The prior art is not an effective means to disseminate all kinds of information (col. 1,

lines 39-46). Certain of the inventive aspects of the ‘464 patent addressed the need for

improvements in the area of distributing information to the operator of a vehicle, by better

facilitating the dissemination of information via a vehicle device (col. 2, lines 1-5). More

specifically, the inventive aspects of collecting vehicle control information and distributing the

information to the individual vehicle device for a plurality of vehicles (col. 13, lines 55-67), were

not well-understood, routine, or conventional at the time of the invention.




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                               United States Patent No. 7,370,085

       20.     The ‘085 patent claims a method for providing user location information for a

personal information management (PIM) program by generating position coordinates of a wireless

device with related time information. Additionally, the ‘085 patent claims another method for

generating a calendar for a PIM program by receiving a time interval and determining position

coordinates of a wireless device in order to display a user’s activity with the corresponding time.

In one embodiment, the ‘085 patent then determines whether a rate of change in distance between

position coordinates at designated times indicates a user’s activity during the activity time period,

and then generates information on the predefined activity. A PIM client gathers and presents PIM

information, such as calendaring and scheduling information, in accordance with the described

implementations. A PIM refers to a program designed to allow users to organize random bits of

information in a useful format (col. 4, lines 27-33). In the present complaint, Defendant’s ride-

hailing system and method infringe on these inventive aspects of the ‘085 patent. For example,

Defendant’s use of geographical reference data to depict various drivers in the vicinity of a

potential passenger on its Lyft application fits one definition of gathering and presenting

information on a PIM.

       21.     The ‘085 patent overcomes shortcoming in the prior art, which provided users of

wireless computing (such as personal information managers) or handheld computers (such as

cellular phones) significantly limited versions of programs and functions normally available on

desktop computers (col. 1, lines 56-61). Certain of the inventive aspects of the ‘085 patent

addressed the need for an application that could more fully exploit wireless computing technology

and extend the utility beyond that of a portable telephone and limited personal information




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manager (col. 2, lines 5-10). These aspects were not well-understood, routine, or conventional at

the time of the invention.

                                 United States Patent No. 7,958,215

        22.       The ‘215 patent claims a number of computer-implemented embodiments for

responding to a condition/alert (for example, needing a ride) and managing an information

technology device.

        a.        Claim 1 of the ‘215 patent claims a method for responding to a problem condition,

which automatically detects the availability of the first candidate to respond to the problem

condition, responds to the detection, automatically assigns to the first candidate the responsibility

for the problem condition, and then receives confirmation that the candidate has accepted

responsibility.

        b.        Claim 5 of the ‘215 patent claims a method for managing an information technology

device, which receives an alert from a device and receives availability information of a plurality

of candidates, automatically selects a qualified and available candidate to take responsibility for

the alert, and then receives a reply from the candidate indicating acceptance of responsibility.

        c.        Claim 14 of the ‘215 patent claims a method for managing an information

technology device, which receives an alert from the device, automatically selects a qualified

candidate and determines candidates’ availability to respond to the alert, automatically sends an

instant message to the candidate containing information about the alert, receives a reply from the

candidate indicating acceptance of responsibility, and then automatically assigns responsibility for

the alert to the candidate.

        d.        Claim 17 of the ‘215 patent claims a method for assigning responsibility for

responding to a condition in an information technology device, which receives an alert from a



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monitored device describing an event in the device, automatically detects an available

administrator qualified to respond to the event, automatically sends a first instant message to the

available administrator that references the alert and requests acknowledgment, receives a second

instant message from the administrator acknowledging the event, and then automatically assigns

responsibility for the event to the administrator.

       In particular, the ‘215 patent relates to management methods and systems using real-time

collaboration and instant messaging technology (col. 1, lines 5-10). In the present complaint,

Defendant’s ride-hailing system and method infringe on these inventive aspects of the ‘215 patent.

For example, Defendant monitors alerts/conditions (ride requests) from passengers through the

Lyft Application (on a device) and automatically determines the availability of a plurality of

drivers (candidates/administrators) to respond to the passenger’s request. Once driver location,

availability, and qualification (for example, possession of driver’s license; vehicle type; vehicle

make; vehicle year; passenger rating; driver rating; driver acceptance rating; driver coverage areas;

etc.) are determined, the drivers are automatically notified via their Lyft Applications. The drivers

respond, and then one driver is automatically assigned to handle the passenger’s alert. The Lyft

Applications (passenger application to Lyft server to driver application, and vice versa), use real-

time collaboration and messaging technology to manage alerts and assignments of responsibility.

       23.     The ‘215 patent overcomes shortcomings in the prior art, which failed to properly

ensure responses to alerts and conditions in a cost effective and timely fashion (col. 1, lines 24-

62). Certain of the inventive aspects of the ‘215 patent address the need for ensuring and assigning

real time responses to alerts and conditions from qualified and available candidates (col.1, lines

65-67, col. 2, lines 1-62). Such method and aspects were not well-understood, routine, or

conventional at the time of the invention.



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                                United States Patent No. 9,460,616

       24.     In one embodiment, the ‘616 patent claims a system comprising a mobile object

server that receives information from a plurality of mobile objects within a geographic space and

performs a process associated with each mobile object. A notification is provided if one mobile

object has become distanced from a predetermined location or region. The mobile objects may be

manned/unmanned automobiles, motorbikes, bicycles, humans having a digital device, airplanes,

vessels, drones, or the like (col. 2, lines 41-43). In the present complaint, Defendant’s ride-hailing

system and method infringe on these inventive aspects of the ‘616 patent. For example, Defendant

monitors its drivers (mobile objects) via its central servers (mobile object server), with each of the

plurality of drivers in a geographic area providing information which is received at the Defendant’s

servers. Such information from the drivers may include information about accidents, obstructions,

closures, limitation statuses, or construction on the road. Defendant’s servers monitor the

progress/location of the driver, and perform a process of updating the navigation information

provided to the driver via the Lyft Navigation, Google Maps, or Waze navigation applications,

with updated estimated times of arrival based on the speed, current traffic, and other considerations

encountered by the Lyft driver.

       25.     The ‘616 patent overcomes shortcomings in the prior art, which failed to account

for the inherent problem that as the geographic space being handled expands, the number of

automobiles and the number of roads increases, thereby increasing the amount of information

being sent and received to a level that surpasses the processing capabilities of the server, nor allows

different information and services to be provided to each automobile and driver in real time (col.

1, lines 17-25). Certain of the inventive aspects of the ‘616 patent addressed the need for

improvements in managing the geographic space and mobile objects within the geographic space



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(col. 27, lines 49-52). These aspects were not well-understood, routine, or conventional at the time

of the invention.

                                       The Lyft Application

       26.     On information and belief, Defendant uses the Lyft network/server in combination

with the Lyft rider/passenger application and the Lyft driver application to operate ride-hailing

services. For the purposes of this complaint, the term “Lyft app” encompasses all such

functionalities and any related Lyft technologies, either commercially available or developed

functionally by Lyft.

       a.      On information and belief, Lyft operates a network/server infrastructure with its

riders/passengers and drivers.

       b.      On information and belief, Lyft operates and provides a Rider application that,

among other things, allows Lyft passengers/customers to request a ride. For the purposes of this

complaint, passenger application/app and rider application/app, as well as any different,

unambiguous iterations, are used interchangeably.

       c.      On information and belief, Lyft operates and provides a Driver application that,

among other things, allows Lyft drivers to accept ride requests and perform related activities. For

the purposes of this complaint, driver application/app and any different, unambiguous iterations,

are used interchangeably.

                                       COUNT I
                        PATENT INFRINGEMENT OF THE ‘004 PATENT

       27.     Plaintiff Quartz Auto repeats and realleges the above paragraphs, which are

incorporated by reference as if fully restated herein.

       28.     Plaintiff Quartz Auto is the owner of all rights, title, and interest in the ‘004 patent.




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         29.   Plaintiff Quartz Auto and its predecessors in interest have never licensed to the

Defendant under the ‘004 patent, nor has Plaintiff Quartz Auto otherwise authorized the Defendant

to practice any part of the ‘004 patent.

         30.   The ‘004 patent is presumed valid under 35 U.S.C. §282.

         31.   The ‘004 patent relates to, among other things, a system and method for

implementing proximity or location driven activities.

         32.   On information and belief, Defendant operates a ride-hailing service that uses a

passenger and driver application that collects current location and destination in order to execute

a proximity-driven activity.

         33.   Direct Infringement: On information and belief, Defendant has directly infringed

and continues to directly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ‘004 patent, including for example (but not limited to) at least method claims 1-11,

system claims 12-22, and computer program claims 23-33 of the ‘004 patent by making, using,

distributing, providing, supplying, selling, offering to sell without license or authority Defendant’s

application that include infringing features. The infringing products include applications that can

be used on a variety of mobile computing devices and gather and transmit location-specific

information. A detailed infringement claim mapping is provided in paragraphs 37-44 and

paragraphs 45-49 below.

         34.   Induced Infringement: On information and belief, Defendant has and continues

to promote, advertise, and instruct current drivers and riders, and potential drivers and riders about

Lyft products, such as:

   (i)     Providing Defendant’s downloadable applications for Rider

           (https://www.lyft.com/rider) and Driver (https://www.lyft.com/driver);



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   (ii)       Providing an overview of how to use Lyft’s branded products

              (https://www.lyftbusiness.com), including instructions for riders to use the services

              (https://help.lyft.com/hc/en-us/categories/115002006488-Riding-with-Lyft); and

   (iii)      Providing requirements for drivers to sign-up for the service

              (https://help.lyft.com/hc/en-us/categories/115002009967-Driving-with-Lyft).

Defendant’s promotion, advertising, and instruction efforts include, at a minimum, maintenance

of its own website http://www.lyft.com/, providing additional driver application requirements and

Frequently Asked Questions (FAQs), and other indicia of Lyft branded products

(https://www.lyft.com/driver-application-requirements).        Defendant’s    software    applications

require both the rider and the driver to download the software applications for mobile computing

devices, such as smartphones, laptops, and tablets, which enables Lyft to control the actions of

both the riders and the drivers to use the infringing features of the products and methods for ride-

hailing. On information and belief, Defendant continues to engage in these acts with knowledge

of the ‘004 patent by the filing of this Complaint, and with the actual intent to cause the acts which

it knew or should have known would induce actual infringement.

           35.    Defendant Lyft has infringed the ‘004 patent by making, having made, using,

importing, providing, supplying, distributing, selling, or offering for sale systems utilizing a

method for implementing proximity driven activities.

           36.    Detailed Mapping of Direct Infringement: On information and belief,

infringement of the ‘004 patent by these Lyft ride-hailing products and applications is

demonstrated below.

           37.    Method claim 1 of the alleged claims:

           1. A method of implementing a proximity driven activity, comprising:
                  specifying an activity to be executed at an indeterminate destination location;

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               storing an executable software code corresponding to the activity;
               determining a current location of a mobile computing device;
               determining whether the destination location is within a predefined proximity range
       from the current location of the mobile computing device;
               executing the executable software code at a time when the destination location is
       within the proximity range of the mobile computing device; and
       transmitting an address of the destination location to the mobile computing device.

       38.     On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) performs a method of implementing a proximity driven activity.




       https://www.youtube.com/watch?v=a8n2--HlzDU




       https://www.lyft.com/driver




       https://www.Lyft.com/newsroom/semi-automated-science-using-an-ai-simulation-
       framework/

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       39.     On information and belief, the Lyft App specifies an activity to be executed at an

indeterminate destination location.




       https://www.youtube.com/watch?v=a8n2--HlzDU

       40.     On information and belief, the Lyft App stores an executable software code

corresponding to the activity.




       https://www.youtube.com/watch?v=a8n2--HlzDU




       https://help.lyft.com/hc/en-us/articles/115013080028#app


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       41.    On information and belief, the Lyft App determines a current location of a mobile

computing device.




       https://www.youtube.com/watch?v=a8n2--HlzDU

       42.    On information and belief, the Lyft App determines whether the destination location

is within a predefined proximity range from the current location of the mobile computing device.




       https://www.youtube.com/watch?v=a8n2--HlzDU




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       https://www.Lyft.com/newsroom/semi-automated-science-using-an-ai-simulation-
       framework/




       https://www.lyft.com/developers/products/ride-request

       43.    On information and belief, the Lyft App executes the executable software code at a

time when the destination location is within the proximity range of the mobile computing device.




       https://www.youtube.com/watch?v=a8n2--HlzDU


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       44.    On information and belief, the Lyft App transmits an address of the destination

location to the mobile computing device.




       https://www.youtube.com/watch?v=a8n2--HlzDU




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       Lyft Driver Application Screenshot February 25, 2020

       45.     System claim 12 of the alleged claims is provided below (and system claim 12 is

also taken as representative of breadth of computer program product claim 23):

       12. A system for implementing a proximity driven activity, comprising:
               a calendar module for specifying an activity to be executed at an indeterminate
       destination location;
               a server for storing an executable software code corresponding to the activity and
       for determining a current location of a mobile computing device; and
               the server determining whether the destination location is within a predefined
       proximity range from the current location of the mobile computing device, and, when the
       server determines that the destination location is within the proximity range of the mobile
       computing device, the server executes the executable software code, and transmits an
       address of the destination location to the mobile computing device.

       46.     On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) performs a system of implementing a proximity driven activity.




       https://www.youtube.com/watch?v=a8n2--HlzDU

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       https://www.lyft.com/driver




       https://www.Lyft.com/newsroom/semi-automated-science-using-an-ai-simulation-
       framework/

       47.     On information and belief, the Lyft App uses a calendar module for specifying an

activity to be executed at an indeterminate destination location.




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       Lyft Driver Application Screenshot February 25, 2020




       Lyft Driver Application Screenshot February 25, 2020

       48.    On information and belief, the Lyft App uses a server for storing an executable

software code corresponding to the activity and for determining a current location of a mobile

computing device.




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       https://help.lyft.com/hc/en-us/articles/115013080028#app




       https://www.youtube.com/watch?v=a8n2--HlzDU

       49.     On information and belief, the Lyft App server determines whether the destination

location is within a predefined proximity range from the current location of the mobile computing

device, and, when the server determines that the destination location is within the proximity range

of the mobile computing device, the server executes the executable software code, and transmits

an address of the destination location to the mobile computing device.




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https://www.youtube.com/watch?v=a8n2--HlzDU




https://www.Lyft.com/newsroom/semi-automated-science-using-an-ai-simulation-
framework/




https://www.youtube.com/watch?v=a8n2--HlzDU




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       Lyft Driver Application Screenshot February 25, 2020

       50.     On information and belief, Defendant’s actions have and continue to constitute

active inducing infringement of at least method claims 1-11, system claims 12-22, and computer

program claims 23-33 of the ‘004 patent in violation of 35 U.S.C. §271(b).

       51.     As a result of Defendant’s infringement of at least method claims 1-11, system

claims 12-22, and computer program claims 23-33 of the ‘004 patent, Plaintiff Quartz Auto has

suffered monetary damages in an amount yet to be determined, and will continue to suffer damages

in the future unless Defendant’s infringing activities are enjoined by this Court. Defendant is liable

to Plaintiff in an amount that adequately compensates for such infringements, which, by law,

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

       52.     Defendant’s wrongful acts have damaged and will continue to damage Plaintiff

Quartz Auto irreparably, and Plaintiff has no adequate remedy at law for those wrongs and injuries.

In addition to its actual damages, Plaintiff Quartz Auto is entitled to a permanent injunction

restraining and enjoining Defendant and its agents, servants, and employees, and all persons acting

thereunder, in concert with, or on its behalf, from infringing at least method claims 1-11, system

claims 12-22, and computer program claims 23-33 of the ‘004 patent.




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                                    COUNT II
                     PATENT INFRINGEMENT OF THE ‘464 PATENT

       53.     Plaintiff Quartz Auto repeats and realleges the above paragraphs, which are

incorporated by reference as if fully restated herein.

       54.     Plaintiff Quartz Auto is the owner of all rights, title, and interest in the ‘464 patent.

       55.     Plaintiff Quartz Auto and its predecessors in interest have never licensed to the

Defendant under the ‘464 patent, nor has Plaintiff Quartz Auto otherwise authorized the Defendant

to practice any part of the ‘464 patent.

       56.     The ‘464 patent is presumed valid under 35 U.S.C. §282.

       57.     The ‘464 patent relates to, among other things, systems and methods for distributing

information to the operator of a vehicle.

       58.     On information and belief, Defendant operates a ride-hailing service that uses a

passenger and driver application that distributes information to the operator of a vehicle.

       59.     Direct Infringement: On information and belief, Defendant has directly infringed

and continues to directly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ‘464 patent, including for example (but not limited to) at least method claims 1-19

and system claims 20-22 of the ‘464 patent by making, using, distributing, providing, supplying,

selling, offering to sell without license or authority Defendant’s application that include infringing

features. The infringing products include applications that can be used on a variety of remote

computing devices and gather and transmit location-specific information. This is without Plaintiff

Quartz Auto’s authorization, in violation of 35 U.S.C. § 271(a). A detailed infringement claim

mapping is provided in paragraphs 64-69 and paragraphs 70-72 below.




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           60.      Induced Infringement: On information and belief, Defendant has and continues

to promote, advertise, and instruct current drivers and riders, and potential drivers and riders about

Lyft products, such as:

   (i)       Providing Defendant’s downloadable applications for Rider

             (https://www.lyft.com/rider) and Driver (https://www.lyft.com/driver);

   (ii)      Providing an overview of how to use Lyft’s branded products

             (https://www.lyftbusiness.com), including instructions for riders to use the services

             (https://help.lyft.com/hc/en-us/categories/115002006488-Riding-with-Lyft); and

   (iii)         Providing requirements for drivers to sign-up for the service

             (https://help.lyft.com/hc/en-us/categories/115002009967-Driving-with-Lyft).

Defendant’s promotion, advertising, and instruction efforts include, at a minimum, maintenance

of its own website http://www.lyft.com/, providing additional driver application requirements

and Frequently Asked Questions (FAQs), and other indicia of Lyft branded products

(https://www.lyft.com/driver-application-requirements). Defendant’s software applications

require both the rider and the driver to download the software applications for mobile computing

devices, such as smartphones, laptops, and tablets, which enables Lyft to control the actions of

both the riders and the drivers to use the infringing features of the products and methods for ride-

hailing. On information and belief, Defendant continues to engage in these acts with knowledge

of the ‘464 patent by the filing of this Complaint, and with the actual intent to cause the acts

which it knew or should have known would induce actual infringement.

           61.      Defendant Lyft has infringed the ‘464 patent by making, having made, using,

importing, providing, supplying, distributing, selling, or offering for sale systems utilizing a

method for managing data.



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        62.     The ‘464 patent is well known in the industry – having been cited in at least 64

cited patents since its filing date

        63.     Detailed Mapping of Direct Infringement: On information and belief,

infringement of the ‘464 patent by these Lyft ride-hailing products and applications is

demonstrated below.

        64.     Method claim 1 of the alleged claims:

        1. A method of distributing vehicle control information, comprising:
               determining at a controller located at a location vehicle control information
        associated with the location and with an operator of a vehicle;
               transmitting the vehicle control information to a vehicle device;
               receiving the vehicle control information at the vehicle device; and
               arranging at the vehicle device for an indication to be provided to the operator in
        accordance with the vehicle control information.

        65.     On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) performs a method of distributing vehicle control information.




        https://help.lyft.com/hc/en-us/articles/115013079988-How-to-request-a-ride




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       66.     On information and belief, the Lyft App determines at a controller located at a

location vehicle control information associated with the location and with an operator of a vehicle.




       https://help.lyft.com/hc/en-us/articles/115013079988-How-to-request-a-ride

       67.     On information and belief, the Lyft App transmits the vehicle control information

to a vehicle device.




       https://www.appsrhino.com/lyft-tech-stack-uber/

       68.     On information and belief, the Lyft App receives the vehicle control information at

the vehicle device.




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       https://www.appsrhino.com/lyft-tech-stack-uber/

       69.     On information and belief, the Lyft App arranges at the vehicle device for an

indication to be provided to the operator in accordance with the vehicle control information.




       https://www.appsrhino.com/lyft-tech-stack-uber/




       https://www.youtube.com/watch?v=a8n2--HlzDU&t=10s




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       70.     System claim 20 of the alleged claims:

       20. A system, comprising:
               a controller located at a location, wherein the controller is adapted to (i) determine
       vehicle control information associated with the location and with an operator of a vehicle
       and (ii) transmit the vehicle control information; and
               a vehicle device adapted to (i) receive the vehicle control information and (ii)
       arrange for an indication to be provided to the operator in accordance with the vehicle
       control information.

       71.     On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) is a system comprising a controller located at a location, wherein the controller is adapted

to (i) determine vehicle control information associated with the location and with an operator of a

vehicle and (ii) transmit the vehicle control information.




       https://help.lyft.com/hc/en-us/articles/115013079988-How-to-request-a-ride




       https://www.appsrhino.com/lyft-tech-stack-uber/

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       https://www.youtube.com/watch?v=a8n2--HlzDU&t=10s

       72.     On information and belief, the Lyft App is a system comprising a vehicle device

adapted to (i) receive the vehicle control information and (ii) arrange for an indication to be

provided to the operator in accordance with the vehicle control information.




       https://www.appsrhino.com/lyft-tech-stack-uber/




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       https://www.youtube.com/watch?v=a8n2--HlzDU&t=10s

       73.     On information and belief, Defendant’s actions have and continue to constitute

active inducing infringement of at least claims 1-19 and 20-22 of the ‘464 patent in violation of 35

U.S.C. §271(b).

       74.     As a result of Defendant’s infringement of at least claims 1-19 and 20-22 of the

‘464 patent, Plaintiff Quartz Auto has suffered monetary damages in an amount yet to be

determined, and will continue to suffer damages in the future unless Defendant’s infringing

activities are enjoined by this Court. Defendant is liable to Plaintiff in an amount that adequately

compensates for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       75.     Defendant’s wrongful acts have damaged and will continue to damage Plaintiff

Quartz Auto irreparably, and Plaintiff has no adequate remedy at law for those wrongs and injuries.

In addition to its actual damages, Plaintiff Quartz Auto is entitled to a permanent injunction

restraining and enjoining Defendant and its agents, servants, and employees, and all person acting

thereunder, in concert with, or on its behalf, from infringing at least claims 1-19 and 20-22 of the

‘464 patent.




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                                   COUNT III
                     PATENT INFRINGEMENT OF THE ‘085 PATENT

       76.     Plaintiff Quartz Auto repeats and realleges the above paragraphs, which are

incorporated by reference as if fully restated herein.

       77.     Plaintiff Quartz Auto is the owner of all rights, title, and interest in the ‘085 patent.

       78.     Plaintiff Quartz Auto and its predecessors in interest have never licensed to the

Defendant under the ‘085 patent, nor has Plaintiff Quartz Auto otherwise authorized the Defendant

to practice any part of the ‘085 patent.

       79.     The ‘085 patent is presumed valid under 35 U.S.C. § 282.

       80.     The ‘085 patent relates to, among other things, a method, system, and program for

providing user location information with a personal information management program. A personal

information management program gathers and presents personal information manager

information, such as calendaring and scheduling information, allowing users to organize random

bits of information in a useful format, including a person’s geographic location.

       81.     On information and belief, Defendant operates a ride-hailing service that uses a

passenger and driver application that interacts with a personal information management program,

using geographical reference data to depict the various drivers in the vicinity of a potential

passenger.

       82.     Direct Infringement: On information and belief, Defendant has directly infringed

and continues to directly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ‘085 patent, including for example (but not limited to) at least claims 1-19 and claims

20-23 of the ‘085 patent by making, using, distributing, providing, supplying, selling, offering to

sell, or importing without license or authority, Defendant’s application that include infringing

features. The infringing products include applications that can be used on a variety of remote

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computing devices and gather and transmit location-specific information. Within Lyft, the

passenger application generates position coordinates corresponding to the time the Lyft App is

opened, connecting with the closest drivers, a list that continually updates until the passenger

selects a destination. This is without Plaintiff Quartz Auto’s authorization, in violation of 35 U.S.C.

§271(a). A detailed infringement claim mapping is provided in paragraphs 87-91 and paragraphs

92-98 below.

           83.   Induced Infringement: On information and belief, Defendant has and continues

to promote, advertise, and instruct current drivers and riders, and potential drivers and riders about

Lyft products, such as:

   (i)       Providing Defendant’s downloadable applications for Rider

             (https://www.lyft.com/rider) and Driver (https://www.lyft.com/driver);

   (ii)      Providing an overview of how to use Lyft’s branded products

             (https://www.lyftbusiness.com), including instructions for riders to use the services

             (https://help.lyft.com/hc/en-us/categories/115002006488-Riding-with-Lyft); and

   (iii)     Providing requirements for drivers to sign-up for the service

             (https://help.lyft.com/hc/en-us/categories/115002009967-Driving-with-Lyft).

Defendant’s promotion, advertising, and instruction efforts include, at a minimum, maintenance

of its own website http://www.lyft.com/, providing additional driver application requirements and

Frequently Asked Questions (FAQs), and other indicia of Lyft branded products

(https://www.lyft.com/driver-application-requirements).       Defendant’s     software    applications

require both the rider and the driver to download the software applications for mobile computing

devices, such as smartphones, laptops, and tablets, which enables Lyft to control the actions of

both the riders and the drivers to use the infringing features of the products and methods for ride-



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hailing. On information and belief, Defendant continues to engage in these acts with knowledge

of the ‘085 patent by the filing of this Complaint, and with the actual intent to cause the acts which

it knew or should have known would induce actual infringement.

        84.     Defendant Lyft has infringed the ‘085 patent by making, having made, using,

importing, providing, supplying, distributing, selling, or offering for sale systems utilizing a

method for providing location information.

        85.     The ‘085 patent is well known in the industry – having been cited in at least 37

cited patents since its filing date

        86.     Detailed Mapping of Direct Infringement: On information and belief,

infringement of the ‘085 patent by these Lyft ride-hailing products and applications is

demonstrated below.

        87.     Claim 1 of the alleged claims:

        1. A method for providing user location information for a personal information
        management program, comprising:
                generating position coordinates of a wireless device and time information
        indicating times when the position coordinates were generated, wherein a user is associated
        with the wireless device;
                processing the position coordinates and time information to determine whether a
        rate of change in distance per unit of time in a series of position coordinates at times
        indicates a predefined activity of the user occurring during an activity time period during
        which the position coordinates and the time information were generated; and
                generating information on the determined predefined activity for the activity time
        period.

        88.     On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) performs a method for providing user location information for a personal information

management program.




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       http://urban.cs.wpi.edu/urbcomp2019/file/Urbcomp_2019_paper_12.pdf




       https://eng.lyft.com/lyfts-journey-through-mobile-networking-d8e13c938166
       89.     On information and belief, the Lyft App generates position coordinates of a wireless

device and time information indicating times when the position coordinates were generated,

wherein a user is associated with the wireless device.




       http://urban.cs.wpi.edu/urbcomp2019/file/Urbcomp_2019_paper_12.pdf




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Lyft Passenger Application Screenshot February 9, 2020




Lyft Driver Application Screenshot February 25, 2020




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       Lyft Driver Application Screenshot February 25, 2020

       90.     On information and belief, the Lyft App processes the position coordinates and time

information to determine whether a rate of change in distance per unit of time in a series of position

coordinates at times indicates a predefined activity of the user occurring during an activity time

period during which the position coordinates and the time information were generated.




       https://eng.lyft.com/detecting-stop-signs-and-traffic-signals-deep-learning-at-lyft-
       mapping-75bac609c231/




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       https://eng.lyft.com/detecting-stop-signs-and-traffic-signals-deep-learning-at-lyft-
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       https://eng.lyft.com/detecting-stop-signs-and-traffic-signals-deep-learning-at-lyft-
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       91.     On information and belief, the Lyft App generates information on the determined

predefined activity for the activity time period.




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https://eng.lyft.com/how-lyft-creates-hyper-accurate-maps-from-open-source-maps-and-
real-time-data-8dcf9abdd46a




https://eng.lyft.com/how-lyft-creates-hyper-accurate-maps-from-open-source-maps-and-
real-time-data-8dcf9abdd46a




https://www.lyft.com/safety/rider

92.    Claim 20 of the alleged claims:

20. A method for generating a calendar for a personal information management, program,
comprising:
        receiving selection of a time interval;
        for the selected time interval, determining position coordinates of a wireless device
and time information indicating times when the position coordinates were generated,
wherein a user is associated with the wireless device;
        processing the position coordinates and time information during the selected time
interval to determine whether a rate of change in distance per unit of time in a series of the
position coordinates at times during the selected time interval indicates a predefined
activity of the user occurring during the selected time interval;


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               generating information on the predefined activity within the selected time interval;
       and
               displaying information on the predefined activity of the user and the selected time
       interval.

       93.     On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) performs a method for generating a calendar for a personal information management,

program.




       http://urban.cs.wpi.edu/urbcomp2019/file/Urbcomp_2019_paper_12.pdf




       https://eng.lyft.com/lyfts-journey-through-mobile-networking-d8e13c938166

       94.     On information and belief, the Lyft App receives selection of a time interval.




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       http://urban.cs.wpi.edu/urbcomp2019/file/Urbcomp_2019_paper_12.pdf

       95.     On information and belief, the Lyft App determines position coordinates of a

wireless device and time information indicating times when the position coordinates were

generated, wherein a user is associated with the wireless device, for the selected time interval.




       http://urban.cs.wpi.edu/urbcomp2019/file/Urbcomp_2019_paper_12.pdf




       https://developer.lyft.com/docs/ios

       96.     On information and belief, the Lyft App processes the position coordinates and time

information during the selected time interval to determine whether a rate of change in distance per


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unit of time in a series of the position coordinates at times during the selected time interval

indicates a predefined activity of the user occurring during the selected time interval.




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       http://urban.cs.wpi.edu/urbcomp2019/file/Urbcomp_2019_paper_12.pdf




       https://eng.lyft.com/sensor-data-in-localization-wi-fi-329ea84db959




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       https://eng.lyft.com/how-lyft-creates-hyper-accurate-maps-from-open-source-maps-and-
       real-time-data-8dcf9abdd46a

       97.     On information and belief, the Lyft App generates information on the predefined

activity within the selected time interval.




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       https://developer.lyft.com/docs/android-api-wrappers




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       98.     On information and belief, the Lyft App displays information on the predefined

activity of the user and the selected time interval.




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       https://developer.lyft.com/docs/android-api-wrappers




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       99.     On information and belief, Defendant’s actions have and continue to constitute

active inducing infringement of at least claims 1-19 and 20-23 of the ‘085 patent in violation of 35

U.S.C. §271(b).

       100.    As a result of Defendant’s infringement of at least claims 1-19 and 20-23 of the

‘085 patent, Plaintiff Quartz Auto has suffered monetary damages in an amount yet to be

determined, and will continue to suffer damages in the future unless Defendant’s infringing

activities are enjoined by this Court. Defendant is liable to Plaintiff in an amount that adequately

compensates for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       101.    Defendant’s wrongful acts have damaged and will continue to damage Plaintiff

Quartz Auto irreparably, and Plaintiff has no adequate remedy at law for those wrongs and injuries.

In addition to its actual damages, Plaintiff Quartz Auto is entitled to a permanent injunction

restraining and enjoining Defendant and its agents, servants, and employees, and all person acting

thereunder, in concert with, or on its behalf, from infringing at least claims 1-19 and 20-23 of the

‘085 patent.

                                   COUNT IV
                     PATENT INFRINGEMENT OF THE ‘215 PATENT

       102.    Plaintiff Quartz Auto repeats and realleges the above paragraphs, which are

incorporated by reference as if fully restated herein.

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       103.      Plaintiff Quartz Auto is the owner of all rights, title, and interest in the ‘215 patent.

       104.      Plaintiff Quartz Auto and its predecessors in interest have never licensed to

Defendant under the ‘215 patent, nor has Plaintiff Quartz Auto otherwise authorized the Defendant

to practice any part of the ‘215 patent.

       105.      The ‘215 patent is presumed valid under 35 U.S.C. § 282.

       106.      The ‘215 patent relates to, among other things, system management using real time

collaboration.

       107.      On information and belief, Defendant operates a ride-hailing service that uses a

passenger application, driver application, and server that collaborate in real time.

       108.      Direct Infringement: On information and belief, Defendant has directly infringed

and continues to directly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ‘215 patent, including for example (but not limited to) at least computer implemented

method claims 1-4, computer implemented method claims 5-13, computer implemented method

claims 14-16, and computer implemented method claim 17 of the ‘215 patent by making, using,

distributing, providing, supplying, selling, offering to sell, or importing without license or

authority, Defendant’s application that include infringing features. The infringing products

includes applications that respond to alerts made by the passenger (e.g., requesting a Lyft) by

automatically detecting available nearby drivers and assigning responsibility of passenger’s alert

to a driver (e.g., accepting the passenger’s request for a Lyft). This is without Plaintiff Quartz

Auto’s authorization, in violation of 35 U.S.C. §271(a). A detailed infringement claim mapping is

provided in paragraphs 112-117, paragraphs 118-124, paragraphs 125-132, and paragraphs 133-

139 below.




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           109.   Induced Infringement: On information and belief, Defendant has and continues

to promote, advertise, and instruct current drivers and riders, and potential drivers and riders about

Lyft products, such as:

   (i)       Providing Defendant’s downloadable applications for Rider

             (https://www.lyft.com/rider) and Driver (https://www.lyft.com/driver);

   (ii)      Providing an overview of how to use Lyft’s branded products

             (https://www.lyftbusiness.com), including instructions for riders to use the services

             (https://help.lyft.com/hc/en-us/categories/115002006488-Riding-with-Lyft); and

   (iii)      Providing requirements for drivers to sign-up for the service

             (https://help.lyft.com/hc/en-us/categories/115002009967-Driving-with-Lyft).

Defendant’s promotion, advertising, and instruction efforts include, at a minimum, maintenance

of its own website http://www.lyft.com/, providing additional driver application requirements and

Frequently Asked Questions (FAQs), and other indicia of Lyft branded products

(https://www.lyft.com/driver-application-requirements).       Defendant’s     software   applications

require both the rider and the driver to download the software applications for mobile computing

devices, such as smartphones, laptops, and tablets, which enables Lyft to control the actions of

both the riders and the drivers to use the infringing features of the products and methods for ride-

hailing. On information and belief, Defendant continues to engage in these acts with knowledge

of the ‘215 patent by the filing of this Complaint, and with the actual intent to cause the acts which

it knew or should have known would induce actual infringement.

           110.   Defendant Lyft has infringed the ‘215 patent by making, having made, using,

importing, providing, supplying, distributing, selling, or offering for sale systems utilizing a

method and system for tracking mobile objects.



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       111.    Detailed Mapping of Direct Infringement: On information and belief,

infringement of the ‘215 patent by these Lyft ride-hailing products and applications is

demonstrated below.

       112.    Computer implemented method claim 1 is below:

       1. A computer-implemented method of responding to a problem condition, comprising:
              automatically detecting availability of a first candidate to respond to a problem
       condition;
              responsive to the detecting:
              automatically assigning responsibility for the problem condition to the first
       candidate; and
              receiving a confirmation from the first candidate indicating acceptance of
       responsibility for the problem condition.

       113.    On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) is a computer implemented method of responding to a problem condition.




       https://help.lyft.com/hc/en-us/articles/115013079988-How-to-request-a-ride




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       https://www.lyft.com/developers/products/ride-request

       114.   On information and belief, the Lyft App automatically detects availability of a first

candidate to respond to a problem condition.




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https://www.lyft.com/developers/products/ride-request




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115.   On information and belief, the Lyft App is responsive to the detecting.




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       116.    On information and belief, the Lyft App automatically assigns responsibility for the

problem condition to the first candidate.




       https://help.lyft.com/hc/en-us/articles/115013079988-How-to-request-a-ride




       https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride




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       https://help.lyft.com/hc/en-us/articles/115012926847-How-drivers-and-passengers-are-
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       117.    On information and belief, the Lyft App receives a confirmation from the first

candidate indicating acceptance of responsibility for the problem condition.




       https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride




       https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride

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       118.    Computer implanted method claim 5 is below:

       5. A computer-implemented method of managing an information technology device,
       comprising:
              receiving an alert from a managed information technology device;
              receiving availability information about a plurality of candidates;
              automatically selecting a candidate qualified and available to respond to the event
       from among the plurality of candidates;
              automatically assigning responsibility for the alert to the candidate; and
              receiving a reply from the candidate indicating acceptance of responsibility for the
       alert.

       119.    On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) is a computer implemented method of managing an information technology device.




       https://help.lyft.com/hc/en-us/articles/115013079988-How-to-request-a-ride




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       https://www.lyft.com/developers/products/ride-request

       120.   On information and belief, the Lyft App receives an alert from a managed

information technology device.




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       121.    On information and belief, the Lyft App receives availability information about a

plurality of candidates.




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       https://www.lyft.com/developers/products/ride-request




       https://help.lyft.com/hc/en-us/articles/115012926847-How-drivers-and-passengers-are-
       paired

       122.    On information and belief, the Lyft App automatically selects a candidate qualified

and available to respond to the event from among the plurality of candidates.




       https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride




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https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride




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https://developer.lyft.com/docs/ios-api-wrappers

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        123.    On information and belief, the Lyft App automatically assigns responsibility for the

alert to the candidate.




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       124.    On information and belief, the Lyft App receives a reply from the candidate

indicating acceptance of responsibility for the alert.




       https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride




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       125.    Computer implanted method claim 14 is below:

       14. A computer-implemented method of managing an information technology device,
       comprising:
              receiving an alert from a managed information technology device;
              automatically selecting a candidate qualified to respond to the event;
              automatically determining if the candidate is available to respond to the event;
              automatically sending an instant message to the candidate containing information
       about the alert;
              receiving an instant message from the candidate indicating acceptance of
       responsibility for the alert; and
              automatically assigning responsibility for the alert to the candidate.




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       126.    On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) is a computer implemented method of responding to a problem condition.




       https://help.lyft.com/hc/en-us/articles/115013079988-How-to-request-a-ride




       https://www.lyft.com/developers/products/ride-request

       127.    On information and belief, the Lyft App receives an alert from a managed

information technology device.




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       128.    On information and belief, the Lyft App automatically selects a candidate qualified

to respond to the event.




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       https://developer.lyft.com/docs/ios-api-wrappers




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       129.    On information and belief, the Lyft App automatically determines if the candidate

is available to respond to the event




       https://help.lyft.com/hc/en-us/articles/115012926847-How-drivers-andpassengers-are-
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       130.    On information and belief, the Lyft App automatically sends an instant message to

the candidate containing information about the alert.


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        131.    On information and belief, the Lyft App receives an instant message from the

candidate indicating acceptance of responsibility for the alert.




        https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride

        132.    On information and belief, the Lyft App automatically assigns responsibility for the

alert to the candidate.




        https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride

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       133.    Computer implanted method claim 17 is below:

       17. A computer-implemented method for assigning responsibility for responding to a fault
       condition in an information technology device, comprising:
               (a) receiving an alert from a monitored information technology device, the alert
       describing an event in the monitored information technology device;
               (b) automatically detecting an available administrator qualified to respond to the
       event;
               (c) automatically sending a first instant message to the available administrator, the
       instant message referencing the alert and requesting an acknowledgement;
               (d) receiving a second instant message from the available administrator, the second
       instant message containing the acknowledgement from the administrator; and
               (e) automatically assigning responsibility for the event to the available
       administrator.

       134.    On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) is a computer implemented method of responding to a problem condition.




       https://help.lyft.com/hc/en-us/articles/115013079988-How-to-request-a-ride




       https://www.lyft.com/developers/products/ride-request

       135.    On information and belief, the Lyft App receives an alert from a monitored

information technology device, the alert describes an event in the monitored information

technology device.

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       https://www.lyft.com/developers/products/ride-request

       136.    On information and belief, the Lyft App automatically detects an available

administrator qualified to respond to the event.




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       https://developer.lyft.com/docs/ios-api-wrappers




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       137.      On information and belief, the Lyft App automatically sends a first instant message

to the available administrator, the instant message references the alert and requests

acknowledgment.




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       138.      On information and belief, the Lyft App receives a second instant message from

the available administrator, the second instant message contains the acknowledgement from the

administrator.



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       https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride

       139.    On information and belief, the Lyft App automatically assigns responsibility for the

event to the available administrator.




       https://help.lyft.com/hc/en-us/articles/115013080028-How-to-give-a-Lyft-ride

       140.    On information and belief, Defendant’s actions have and continue to constitute

active inducing infringement of at least claims 1-4, 5-13, 14-16, and 17 of the ‘215 patent in

violation of 35 U.S.C. §271(b).

       141.    As a result of Defendant’s infringement of at least claims 1-4, 5-13, 14-16, and 17

of the ‘215 patent, Plaintiff Quartz Auto has suffered monetary damages in an amount yet to be

determined, and will continue to suffer damages in the future unless Defendant’s infringing

activities are enjoined by this Court. Defendant is liable to Plaintiff in an amount that adequately

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compensates for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       142.    Defendant’s wrongful acts have damaged and will continue to damage Plaintiff

Quartz Auto irreparably, and Plaintiff has no adequate remedy at law for those wrongs and injuries.

In addition to its actual damages, Plaintiff Quartz Auto is entitled to a permanent injunction

restraining and enjoining Defendant and its agents, servants, and employees, and all person acting

thereunder, in concert with, or on its behalf, from infringing at least claims 1-4, 5-13, 14-16, and

17 of the ‘215 patent.

                                    COUNT V
                     PATENT INFRINGEMENT OF THE ‘616 PATENT

       143.    Plaintiff Quartz Auto repeats and realleges the above paragraphs, which are

incorporated by reference as if fully restated herein.

       144.    Plaintiff Quartz Auto is the owner of all rights, title, and interest in the ‘616 patent.

       145.    Plaintiff Quartz Auto and its predecessors in interest have never licensed to

Defendant under the ‘616 patent, nor has Plaintiff Quartz Auto otherwise authorized the Defendant

to practice any part of the ‘616 patent.

       146.    The ‘616 patent is presumed valid under 35 U.S.C. § 282.

       147.    The ‘616 patent relates to, among other things, the management of mobile objects

and a service platform for mobile objects.

       148.    On information and belief, Defendant operates a ride-hailing service that uses a

passenger and driver application to manage mobile objects (vehicles).

       149.    Direct Infringement: On information and belief, Defendant has directly infringed

and continues to directly infringe, either literally or under the doctrine of equivalents, one or more

claims of the ‘616 patent, including for example (but not limited to) at least system claims 1-10,

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method claims 11-15, and computer program claims 16-19 of the ‘616 patent by making, using,

distributing, providing, supplying, selling, offering to sell, or importing without license or

authority, Defendant’s application that include infringing features. The infringing products

includes applications that monitors the locations of drivers (mobile objects) and passengers within

a geographic area. This is without Plaintiff Quartz Auto’s authorization, in violation of 35 U.S.C.

§271(a). A detailed infringement claim mapping is provided in paragraphs 154-156 below.

           150.   Induced Infringement: On information and belief, Defendant has and continues

to promote, advertise, and instruct current drivers and riders, and potential drivers and riders about

Lyft products, such as:

   (i)       Providing Defendant’s downloadable applications for Rider

             (https://www.lyft.com/rider) and Driver (https://www.lyft.com/driver);

   (ii)      Providing an overview of how to use Lyft’s branded products

             (https://www.lyftbusiness.com), including instructions for riders to use the services

             (https://help.lyft.com/hc/en-us/categories/115002006488-Riding-with-Lyft), and

   (iii)     Providing requirements for drivers to sign-up for the service

             (https://help.lyft.com/hc/en-us/categories/115002009967-Driving-with-Lyft).

Defendant’s promotion, advertising, and instruction efforts include, at a minimum, maintenance

of its own website http://www.lyft.com/, providing additional driver application requirements and

Frequently Asked Questions (FAQs), and other indicia of Lyft branded products

(https://www.lyft.com/driver-application-requirements).       Defendant’s    software    applications

require both the rider and the driver to download the software applications for mobile computing

devices, such as smartphones, laptops, and tablets, which enables Lyft to control the actions of

both the riders and the drivers to use the infringing features of the products and methods for ride-



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hailing. On information and belief, Defendant continues to engage in these acts with knowledge

of the ‘616 patent by the filing of this Complaint, and with the actual intent to cause the acts which

it knew or should have known would induce actual infringement.

        151.     Defendant Lyft has infringed the ‘616 patent by making, having made, using,

importing, providing, supplying, distributing, selling, or offering for sale systems utilizing a

method and system for tracking mobile objects.

        152.     The ‘616 patent is well known in the industry – having been cited in at least 11 cited

patents since its filing date

        153.     Detailed Mapping of Direct Infringement: On information and belief,

infringement of the ‘616 patent by these Lyft ride-hailing products and applications is

demonstrated below. System claim 1 of the ‘616 patent is representative of, and is of similar scope

to method claim 11 and computer program claim 16 of the ‘616 patent.

        154.     System claim 1 is representative of the alleged claims:

        1. A system comprising:
               a mobile object server operable to receive information from each of a plurality of
        mobile objects within a geographic space and perform a process associated with each
        mobile object; and
               a registration server operable to register a first additional process that is to be
        performed in addition to a first basic process common to the plurality of mobile objects, in
        association with one mobile object among the plurality of mobile objects, wherein the
        mobile object server is operable to perform, as the first additional process, a process of
        providing notification that the one mobile object has become distanced from a
        predetermined location or region.

        155.     On information and belief, the Lyft application or Lyft Network, which includes the

passenger application, driver application, Lyft server, and all related technology (hereinafter, “Lyft

App”) is a system comprising a mobile object server operable to receive information from each of

a plurality of mobile objects within a geographic space and perform a process associated with each

mobile object.
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       clients-Finally-how-was-Lyft-able-to-develop-their-consumer-facing-app-so-quickly




       https://www.youtube.com/watch?v=a8n2--HlzDU

       156.    On information and belief, the Lyft App is a system comprising a registration server

operable to register a first additional process that is to be performed in addition to a first basic

process common to the plurality of mobile objects, in association with one mobile object among

the plurality of mobile objects, wherein the mobile object server is operable to perform, as the first

additional process, a process of providing notification that the one mobile object has become

distanced from a predetermined location or region.




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https://www.lyft.com/safety/rider




Lyft Driver Application Screenshot February 25, 2020


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       157.    On information and belief, Defendant’s actions have and continue to constitute

active inducing infringement of at least claims 1-10, 11-15, and 16-19 of the ‘616 patent in

violation of 35 U.S.C. § 271(b).

       158.    As a result of Defendant’s infringement of at least claims 1-10, 11-15, and 16-19 of

the ‘616 patent, Plaintiff Quartz Auto has suffered monetary damages in an amount yet to be

determined, and will continue to suffer damages in the future unless Defendant’s infringing

activities are enjoined by this Court. Defendant is liable to Plaintiff in an amount that adequately

compensates for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       159.    Defendant’s wrongful acts have damaged and will continue to damage Plaintiff

Quartz Auto irreparably, and Plaintiff has no adequate remedy at law for those wrongs and injuries.

In addition to its actual damages, Plaintiff Quartz Auto is entitled to a permanent injunction

restraining and enjoining Defendant and its agents, servants, and employees, and all person acting

thereunder, in concert with, or on its behalf, from infringing at least claims 1-10, 11-15, and 16-19

of the ‘616 patent.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Quartz Auto respectfully requests that this Court enter:

       A.      A judgment in favor of Plaintiff Quartz Auto that Defendant has been and is

infringing at least claims 1-33 of the ‘004 patent, claims 1-22 of the ‘464 patent, claims 1-23 of

the ‘085 patent, claims 1-17 of the ‘215 patent, and claims 1-19 of the ‘616 patent pursuant to 35

U.S.C. §§ 271(a) and/or 271(b);

       B.      A permanent injunction enjoining Defendant and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in



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concert or privity with any of them from infringing, or inducing the infringement of, at least claims

1-33 of the ‘004 patent, claims 1-22 of the ‘464 patent, claims 1-23 of the ‘085 patent, claims 1-

17 of the ‘215 patent, and claims 1-19 of the ‘616 patent;

        C.      A judgment awarding Plaintiff Quartz Auto all damages adequate to compensate it

for Defendant’s infringement of the Quartz Auto Patents under 35 U.S.C. § 284, and in no event

less than a reasonable royalty for Defendant’s acts of infringement, including all post-judgment

interest at the maximum rate permitted by law, and also any past damages permitted under 35

U.S.C. § 286, as a result of Defendant’s infringement of at least claims 1-33 of the ‘004 patent,

claims 1-22 of the ‘464 patent, claims 1-23 of the ‘085 patent, claims 1-17 of the ‘215 patent, and

claims 1-19 of the ‘616 patent;

        D.      An assessment of costs, including reasonable attorney fees pursuant to 35 U.S.C. §

285, and prejudgment interest against Defendant; and

        E.      Such other and further relief as this Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Pursuant to FED. R. CIV. P. 38, Plaintiff Quartz Auto hereby demands a trial by jury on all

issues so triable.

Dated: February 28, 2020                              Respectfully submitted,

                                                      By: _/s/ Thomas M. Dunlap__________


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